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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


DISH NETWORK, L.L.C.,              )
                                   )                   Civil Action No. 4:17-cv-01618
            Plaintiff,             )
                                   )
      v.                           )
                                   )
SHAHJAHAN DURRANI, d/b/a/ Zem TV, )
and ADAM LACKMAN, d/b/a            )
www.tvaddons.ag, www.tvaddons.org, )
www.streamingboxes.com, and        )
www.offshoregit.com,               )
                                   )
            Defendants.            )


  ATTORNEY ERIN K. RUSSELL’S MOTION TO WITHDRAW AS COUNSEL FOR
                       SHAHJAHAN DURRANI

       COMES NOW Attorney Erin K. Russell, counsel for Defendant Shahjahan Durrani, and brings

this Motion to Withdraw as Counsel pursuant to L.R. 83.2, and requests that the Court grant this motion

and permit her to withdraw as counsel for Defendant Durrani, showing the Court as follows:

       This is a copyright infringement matter brought by DISH Network, a Colorado limited liability

company, against Lackman, a Canadian citizen, and Durrani, a British citizen of the United Kingdom.

DISH contends that Durrani developed the ZemTV add-on and managed and operated the ZemTV

service. DISH contends that Durrani, along with co-defendant Lackman, marketed, made available,

and distributed the ZemTV service to internet users in violation of the Copyright Act. DISH admits

that the works at issue were not registered with the U.S. Copyright Office.

       On November 27, 2017, Mr. Durrani hired Ms. Russell to represent him in this matter. On

January 5, 2018, Durrani filed his Motion to Dismiss based on jurisdiction. [ECF No. 24]. That motion

was denied on April 19, 2018. [ECF No. 29].

       On May 7, 2018, Mr. Durrani instructed the undersigned to cease all activity on this matter and
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to take no further steps on his behalf, citing his inability to pay for counsel. He confirmed that

instruction via email on that date. A copy of that email is attached hereto as Exhibit A.

        WHEREFORE, the undersigned respectfully requests that the Court grant this motion and enter

an order permitting her to withdraw as counsel for Mr. Durrani in this matter.

                                                        Respectfully submitted,


                                                        THE RUSSELL FIRM, LLC
                                                        1519 W. Haddon Avenue, Suite D
                                                        Chicago, Illinois 60642
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                                                        Facsimile: (312) 706-9766


                                                        /s/ Erin K. Russell
                                                        Erin K. Russell
                                                        Illinois ARDC Number 6287255
                                                        Admitted Pro Hac Vice
                                                        Email: erin@russellfirmchicago.com

                                                        ATTORNEY FOR DEFENDANT
                                                        SHAHJAHAN DURRANI



                                   CERTIFICATE OF SERVICE

         This is to certify that on May 18, 2018, this document was filed with the Court via
 the CM/ECF electronic filing system, thereby serving it upon all counsel of record. A copy
 has also been served upon Shahjahan Durrani via email at shahjahandurrani@hotmail.com.

                                                         /s/ Erin K. Russell




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